Case 7:20-cv-00342-EKD Document 80 Filed 07/05/21 Page 1 of 4 Pageid#: 424




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    ROANOKE DIVISION
    DANIEL NOTESTEIN,                          )
    BLOCKTRADES INTERNATIONAL, LTD.,           )
    ANDREW CHANEY,                             )
    SZYMON LAPINSKI,                           )
    ADAM DODSON,                               )
    ELMER LIN,                                 )
    DANIEL HENSLEY,                            )
    MICHAEL WOLF,                              )
    MATHIEU GAGNON, and                        )
    MARTIN LEES                                )
                                               )
           Plaintiffs                          )    Civil Action No.: 7:20-cv-000342
                                               )
    v.                                         )
                                               )
    BITTREX, INC.,                             )
    and                                        )
    J. DOE                                     )
                                               )
           Defendants                          )
                                               )
    and                                        )
                                               )
    STEEMIT, INC.                              )
                                               )
           Third-Party Defendants              )

                   REPLY MEMORANDUM IN RESPONSE TO SHOW CAUSE


           Now come the Plaintiffs, by counsel, and hereby file their Reply Memorandum in Response

    to Show Cause as follows:

                                   I. Factual Assertions of the Parties

           Both Bittrex, Inc. (“Bittrex”) and Steemit, Inc. (“Steemit”) begin their responses with a

    discussion of facts. Steemit asserts there “is no dispute” regarding some of the facts. Dkt. 76, p. 2.

    Plaintiffs disagree with this assertion. The facts of this case are in dispute. The assertions of the

    parties are simply that. Plaintiffs’ Memorandum in Response to Order to Show Cause sets out facts




                                                      1
Case 7:20-cv-00342-EKD Document 80 Filed 07/05/21 Page 2 of 4 Pageid#: 425




    alleged by the parties in order to demonstrate how and when the Plaintiffs learned the positions of

    the parties, as well as why they opted not to file suit against Steemit without knowing its

    involvement.

                          II. BlockTrades International, Ltd. is a Corporation

            BlockTrades International, Ltd. (“BlockTrades”) provided the Court with a certified copy

    of its certificate of incorporation. Steemit questions the status of BlockTrades, based upon what

    appears to be an abandoned request to the United States Patent and Trademark Office.

            BlockTrades is a corporation. The United States Patent and Trademark Office application

    contained an error in describing the limited liability entity as a Limited Liability Company. See

    Declaration of Donna Mitchell, attached.

            As a corporation, BlockTrades does not have members; it has shareholders. However,

    should the Court decide that BlockTrades has failed to prove its corporate existence, the sole

    shareholders/”members” are residents of the Western District of Virginia. Id. Accordingly,

    BlockTrades does not impact the diversity jurisdiction of the Court.

                    III. The Doe Defendant Does Not Destroy Diversity in this Case

            Steemit argues that, because the identity of J. Doe is now known to be Steemit, J. Doe was

    not a nominal party at the time this action was filed. In so doing, Steemit asks the Court to attribute

    to Plaintiffs’ knowledge they did not have at the time this action was commenced. Plaintiffs should

    not have been expected to name a party to litigation without having information regarding the

    tortious actions that party took. It is based upon the assertions of Bittrex and Steemit made in their

    pleadings in this action that the Plaintiffs now realize Steemit is a tortfeasor who should be

    included in this litigation.

            Generally speaking, Doe Defendants are considered nominal when they are
            included in the complaint "in the event that during discovery [a plaintiff] identifie[s]




                                                       2
Case 7:20-cv-00342-EKD Document 80 Filed 07/05/21 Page 3 of 4 Pageid#: 426




              any additional defendants he wishe[s] to add to the suit." Moore v. General Motors
              Pension Plans,91 F.3d 848, 850 (7th Cir. 1996). On the other hand, Doe Defendants
              are not nominal if they are included because "the plaintiff knows that there are
              specific additional defendants he wishes to sue, but is simply uncertain as to their
              names." Id.

    Commonwealth Property Advocates v. Ocwen Loan Servicing, No. 2:10-CV-86 CW, at *2 (D.
                             1
    Utah Apr. 29, 2010).

              The relevant time to assess whether J. Doe is a known or nominal party is at the time the

    action was filed. Freeport-McMoran Inc. v. K N Energy, Inc., 498 U.S. 426, 428 (1991); see also

    Howell v. Tribune Entertainment Co., 106 F.3d 215, 217 (7th Cir. 1997). When this action was

    filed, the Plaintiffs did not know Bittrex was acting in concert with Steemit. J. Doe is a nominal

    party in this action.

              WHEREFORE, Plaintiffs respectfully request that this Court maintain jurisdiction of this

    action.

              Respectfully submitted this 5th day of July, 2021,

                                                         DANIEL NOTESTEIN
                                                         BLOCKTRADES INTERNATIONAL, LTD.
                                                         ANDREW CHANEY
                                                         SZYMON LAPINSKI
                                                         ADAM DODSON
                                                         ELMER LIN
                                                         DANIEL HENSLEY
                                                         MICHAEL WOLF
                                                         MATHIEU GAGNON
                                                         MARTIN LEES


                                                         By: __s/Michelle C. F. Derrico________________
                                                              Of Counsel


    1
        Plaintiffs’ Memorandum in Response to Order to Show Cause, Dkt. 73, p. 4 inadvertently identified the

    source of this quotation as Lee v. Airgas-Mid S., Inc., 793 F.3d 894 (8th Cir. 2015).




                                                            3
Case 7:20-cv-00342-EKD Document 80 Filed 07/05/21 Page 4 of 4 Pageid#: 427




    Michelle C. F. Derrico, Esq. (VSB 34037)
    Richard L. Derrico, Esq. (VSB 33442)
    Copenhaver, Ellett & Derrico
    30 Franklin Road, SW, Suite 200
    Roanoke, VA 24011
    (540) 343-9349
    (540) 342-9258 facsimile
    michelle@cecd.roacoxmail.com
    rick@cecd.roacoxmail.com
           Counsel for the Plaintiffs


                                     CERTIFICATE OF SERVICE

           The undersigned hereby certifies that a true and correct copy of the foregoing Reply

    Memorandum in Response to Show Cause was served via CM/ECF system, which will send

    notification of such filing all counsel of record, this 5th day of July, 2021.

                                                   _______/s/ Michelle C. F. Derrico_________
                                                                        Of Counsel




                                                      4
